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                IN THE UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION


 JEFFERY THOMAS,


      Plaintiff,

 V.                                                 CASE NO. CV419-271


KILOLO KIJAKAZI, Acting
Commissioner of Social
Security,

       Defendant.




                                     ORDER


      Before   the   Court    is     Defendant      Kilolo   Kijakazi's    Unopposed

Motion   to    Remand.^      (Doc.       18.)    After     careful    consideration.

Defendant's    motion   (Doc.      18)    is    GRANTED.   Pursuant   to   42   U.S.C.

§ 405(g), the Commissioner's decision is REVERSED, and this case is

REMANDED to the Administrative Law Judge for further consideration

of Plaintiff's residual functional capacity. The Clerk of Court is

DIRECTED to enter JUDGMENT consistent with this Order and to close

this case.


      SO ORDERED this              day of October 2021.




                                         WILLIAM T. MOORE, Jl
                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN   DISTRICT OF GEORGIA



^ Kilolo Kijakazi became the Acting Commissioner of Social Security
on July 9, 2021. Pursuant to Federal Rule of Civil Procedure 25(d),
the Clerk is DIRECTED to substitute Kilolo Kijakazi for Andrew Saul
as the defendant in this suit.
